                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               WESTERN DIVISION

   NASH HOSPITALS, INC.,

           Plaintiff,
                                                              Civil Action No.: 25-cv-00038
   v.
                                                              Hon. Louise Wood Flanagan
   UNITED HEALTHCARE OF NORTH CAROLINA,
   INC.; UNITED HEALTHCARE INSURANCE
   COMPANY OF THE RIVER VALLEY; and
   UNITED HEALTHCARE INSURANCE
   COMPANY,

           Defendants.

   PLAINTIFF’S MOTION TO REMAND THE CASE TO THE NORTH CAROLINA
        GENERAL COURT OF JUSTICE, SUPERIOR COURT DIVISION

        Plaintiff Nash Hospitals, Inc. (“UNC Health Nash”) files this Motion to Remand the Case

to the North Carolina General Court of Justice, Superior Court Division (“Motion”).

Contemporaneously with this Motion, UNC Health Nash files a Memorandum in Support, which

is fully incorporated herein by reference for all purposes.


 Dated: April 7, 2025                                K&L GATES LLP

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                                   Inc.




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